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* W.D- OF rN, MEMPHIS
UNITED STATES OF AMERICA,
Plaintiff, No. 03-20363-D
vs.
RODNEY TATE,
Defendant.
ORDER RELEASING GRAND JURY INFORMATION
TO DEFENDANT, DEFENSE COUNSEL THE
PROBATION OFFICER AND THE COURT
FOR USE AT SENTENCING
lt is hereby ORDERED that the Government's Motion for permission to disclose, under
the conditions described below, the transcript of the testimony before the grand jury of defendant
RODNEY TATE, is hereby GRANTED, and said transcript may be disclosed as follows:
a. The defendant and his counsel will be provided a copy of the transcript of
that defendant’s testimony before the grand jury before sentencing
b. The Probation Officer assigned to this matter will be provided with a copy
of the transcript of the grand jury testimony of the above-named defendant before sentencing for
use in connection with the sentencing of the testifying defendant
c. The Government will file under seal a copy of the transcript of the grand

jury testimony of the above-named defendant, for the Court’s consideration in sentencing and in

connection with any departure motion.

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DONE at Memph.is, Tennessee, this/J;‘day oM, 2005.

 

 

 

Notice of Distribution

This notice confirms a copy of the document docketed as number 58 in
case 2:03-CR-20363 was distributed by faX, mail, or direct printing on
April 19, 2005 to the parties listed.

 

 

Thomas A. Colthurst

U.S. ATTORNEY'S OFFICE
167 N. Main St.

Ste. 800

1\/1emphis7 TN 38103

.lerry Stokes

LAW OFFICE OF JERRY STOKES
100 N. Main St.

Ste. 2601

1\/1emphis7 TN 38103

Honorable Bernice Donald
US DISTRICT COURT

